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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Baltimore Division

------------------------------------------------------X
In re:

        BRETT BUCKMAN,                                        Case No. 21-17932 (MMH)
                                                              Chapter 7
                                   Debtor.

------------------------------------------------------X
tZERO CRYPTO, INC.,

                          Plaintiff-Creditor,

               - against -                                    Adv. Pro. No.

BRETT BUCKMAN,

                           Defendant-Debtor.
------------------------------------------------------X

                        COMPLAINT OBJECTING TO DISCHARGE OF
                       tZERO’S CLAIM PURSUANT TO 11 U.S.C. § 523(a)

        Plaintiff tZERO Crypto, Inc., a creditor in the above-referenced bankruptcy proceeding,

by and through its attorney and pursuant to 11 U.S.C. § 523(a)(2) and (4) and Rules 4007 and

7001(6) of the Federal Rules of Bankruptcy Procedure, as and for its Complaint Objecting to

Discharge of its claim against Defendant-Debtor Brett Buckman alleges as follows.

                                     JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 1334 and 157.

        2.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (I).

        3.       Plaintiff consents to the entry of a final order or judgment by this Court.
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                                         THE PARTIES

       4.      Plaintiff- Creditor tZERO Crypto, Inc. (“tZERO”) is a Utah corporation engaged in

the business of, among other things, providing a platform for trading digital assets.

       5.      Defendant-Debtor Brett Buckman, the debtor in this bankruptcy proceeding (the

“Debtor”), is an individual residing at 304 Greenway, Bel Air, MD 21014.

                                          THE FACTS

       6.      On or about August 5, 2021, the Debtor enrolled for an account (the “tZERO

Enrollment”) with tZERO for the purpose of buying and selling digital assets supported by tZERO

and for access to the custodial services of Prime Trust, LLC, a Nevada chartered trust (“Custody

Provider”), which maintains an account for the Debtor to hold the Debtor’s digital assets and fiat

currency (the “Account”).

       7.      The tZERO Enrollment is governed by the tZERO Crypto User Agreement (the

“User Agreement”), which provides in the initial paragraph that “[b]y enrolling for an account ...,

you agree that you have read, understood, and accept all of the terms and conditions contained in

this Agreement.”

       8.      Pursuant to the User Agreement, the account-holder is required to link the tZERO

Enrollment with a financial institution such as a bank for the purpose of funding digital asset

transactions, and tZERO is authorized, among other things, to transmit instructions to fund the

Account to the Custody Provider, which in turn is authorized to initiate debits or charges from the

account-holder’s bank account to fund transactions in the Account.

       9.      The account-holder is obligated to pay for all purchases made in the Account and,

pursuant to § 4.10 of the User Agreement:

               If a Funding or Exchange Transaction is not successful or if your
               Account has insufficient funds or if such transaction is declined for
               any other reason, you authorize tZERO Crypto and the Custody

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               Provider, in their sole discretion, either to cancel the Fun ding or
               Exchange Transaction or to debit any of your other payment methods
               or your Account balance in any amount necessary to complete the
               Funding or Exchange Transaction, in accordance with applicable
               laws. You are responsible for maintaining an adequate balance and/or
               sufficient credit limits in order to avoid overdraft, insufficient funds,
               or similar fees charged by your bank or payment provider.

       10.     On or about September 30, 2021, the Debtor made five separate purchases of

Bitcoin and received into his Account a total of $49,505.80 worth of Bitcoin.

       11.     The fees associated with the purchases totaled $494.07.

       12.     Accordingly, the payment due (inclusive of associated fees) to tZERO for the

Bitcoin purchases was $49,999.87.

       13.     Payments from the Debtor’s US Bank bank account for the Bitcoin purchases were

received in the Account and in reliance on the transfer of payment, tZERO released the Bitcoin to

the Debtor.

       14.     Although the payments from the Debtor’s US Bank bank account for the Bitcoin

purchases were received in the Account, US Bank subsequently reversed the ACH transactions on

October 26, 2021, with the result that the Bitcoin purchases were not paid for.

       15.     At the 341 Hearing, the Debtor stated that it was at his direction that US Bank

reversed the transfers intended to – and tZERO understood would – pay for the multiple Bitcoin

purchases.

       16.     The Debtor’s testimony at the 341 Hearing evidences his fraudulent scheme to

obtain the Bitcoin from tZERO without paying for it, and that at the time he placed the orders, he

never intended to pay for them.

       17.     tZERO relied on the transfer of funds by the Debtor into the Account in releasing

the Bitcoin purchases to him.



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       18.     As the next step in the Debtor’s fraudulent scheme, on October 12 and October 14,

2021, the Debtor transferred virtually all of the Bitcoin to another digital wallet, further evidencing

his intent not to pay for the multiple Bitcoin purchases and to secrete his assets from creditors,

including tZERO.

       19.     Thereafter, tZERO reached out to the Debtor on several occasions for the purpose

of obtaining payment, but the Debtor failed to respond to any of those contacts.

       20.     By letter dated December 1, 2021 from tZERO’s counsel, tZERO demanded that

the Debtor pay in full the approximately $50,000 due and outstanding for the Bitcoin purchases by

no later than December 13, 2021.

       21.     The Debtor responded to the demand letter by acknowledging to tZERO’s counsel

the outstanding debt, and stating that (i) he had more than enough money in another crypto wallet

to pay what he owed, (ii) he would make the payment on December 16, 2021, the date the assets

in the other crypto wallet were to become “unstaked,” and (3) asking that tZERO wait until

December 16, 2001 to get paid.

       22.     In reliance upon the Debtor’s representation that he would make payment on

December 16, 2021, tZERO forbore from taking any additional actions against the Debtor.

       23.     On December 16, 2021, the Debtor failed to make any payment and his counsel,

without further explanation, informed tZERO’s counsel that the Debtor would not be making any

payment, thereby evidencing the Debtor’s knowledge and intent at the time he told tZERO’s

counsel that he would make payment on December 16, 2021, that he would never make the

payment from the assets in his other crypto wallet.

       24.     To date, the Debtor has not paid any portion of the outstanding balance that is due

and owing.



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       25.      The Debtor further stated at the 341 Hearing that prior to the bankruptcy he had

transferred the funds in his US Bank bank account to a family member’s bank account, further

evidencing his scheme and original intent at the time of the Bitcoin purchases (i) not to pay for

them, and (ii) to secrete his assets from creditors, including tZERO.

       26.      The Debtor made these serial false representations knowing they were false and

intending to deceive tZERO regarding his intent not to pay for the Bitcoin, and knowing tZERO

would reasonably and justifiably rely upon them first, in releasing the Bitcoin to him and second,

in forbearing from taking legal action against him.

       27.      tZERO reasonably and justifiably relied upon the Debtor’s false representations in

releasing the Bitcoin to him and would never have released the Bitcoin if it knew the Debtor was

going to reverse the ACH transactions and attempt to secrete his assets.

       28.      tZERO reasonably and justifiably relied upon the Debtor’s false representations

that he would pay what he owed using crypto assets in another digital wallet on December 16,

2021, the date those assets were to become “unstaked,” and would never have refrained from

taking immediate legal action against him if it knew the Debtor was not going to make payment

on December 16, 2021.

       29.      By reason of the foregoing, tZERO has been damaged in an amount to be

determined at trial that is no less than $49,999.87.

       30.      The foregoing conduct constitutes a series of frauds perpetrated by the Debtor on

tZERO.

                                        COUNT ONE
             (Objection to Discharge of Claim Pursuant to 11 U.S.C. 523(a)(2)(A))

       31.      tZERO repeats and realleges each and every allegation set forth above as if fully

set forth herein.

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       32.     Pursuant to 11 U.S.C. 523(a)(2)(A), an individual debtor shall not be discharged

from any debt “for money, property, services, or an extension, renewal or refinancing of credit, to

the extent obtained by false pretenses, a false representation, or actual fraud, other than a statement

respecting the debtor’s … financial condition.”

       33.     Pursuant to 11 U.S.C. 523(a)(2)(A), the Debtor’s debt to tZERO should be excepted

from discharge because it is a debt “for money, property, services, or an extension, renewal or

refinancing of credit, to the extent obtained by false pretenses, a false representation, or actual

fraud, other than a statement respecting the debtor’s … financial condition.”

                                       COUNT TWO
              (Objection to Discharge of Claim Pursuant to 11 U.S.C. 523(a)(4))

       34.     tZERO repeats and realleges each and every allegation set forth above as if fully

set forth herein.

       35.     Pursuant to 11 U.S.C. 523(a)(4), an individual debtor shall not be discharged from

any debt “for fraud or defalcation while acting in a fiduciary capacity, embezzlement, or larceny.”

       36.     Pursuant to 11 U.S.C. 523(a)(4), the Debtor’s debt to tZERO should be excepted

from discharge because it is a debt “for … larceny.”

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff-Creditor tZERO Crypto, Inc. respectfully requests that judgment

be entered in its favor against Defendant-Debtor Brett Buckman on each Count (1) declaring that

the Debtor is not entitled to a discharge in bankruptcy with respect to his debt to tZERO, and (2)

awarding tZERO costs, expenses, attorneys’ fees and such other and further relief as may appear

just and proper.




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Dated: March 24, 2022

                                        McGONIGLE, P.C.
                                        Attorneys for Plaintiff-Creditor tZERO Crypto, Inc.



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